Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 1 of 236 PageID #:1373




                            EXHIBIT 2
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 2 of 236 PageID #:1374



#1 - Legee Tech a/k/a ShenZhenShiLiJingDianZiShangWuYouXianGongSi
https://www.amazon.com/Bi-Color-3000-5800K-YouTube-Photography-Tablets/dp/B08Q2YYBD3
Screenshots:




Screenshot Date: 16-06-2024 8:30AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 3 of 236 PageID #:1375




Screenshot Date: 16-06-2024 8:30AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 4 of 236 PageID #:1376



#2 - Luxsure-US a/k/a ShenzhenShi JiMiNuo HuWaiYongPin YouXianGongSi
https://www.amazon.com/Overhead-Camera-Recording-YouTube-Cooking/dp/B0C1B2Y91R
Screenshots:




Screenshot Date: 16-06-2024 8:27AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 5 of 236 PageID #:1377




Screenshot Date: 16-06-2024 8:28AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 6 of 236 PageID #:1378



#2 - Luxsure-US a/k/a ShenzhenShi JiMiNuo HuWaiYongPin YouXianGongSi
https://www.amazon.com/Selfie-Holder-Overhead-Recording-YouTube/dp/B09C7R8NQK
Screenshots:




Screenshot Date: 16-06-2024 8:28AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 7 of 236 PageID #:1379




Screenshot Date: 16-06-2024 8:28AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 8 of 236 PageID #:1380



#3 - BINBIN-Direct a/k/a guang zhou jia ge si ke ji you xian gong si
https://www.amazon.com/Tirkod-Rechargeable-Recording-Photography-Streaming/dp/B0CT387V9M
Screenshots:




Screenshot Date: 16-06-2024 7:53AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 9 of 236 PageID #:1381




Screenshot Date: 16-06-2024 7:53AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 10 of 236 PageID #:1382



#4 - ATKTTOP Direct a/k/a Nanjinglaoweijiushangmaoyouxiangongsi
https://www.amazon.com/Overhead-ATKTTOP-Anti-Shaking-Recording-Streaming/dp/B0BGHXR9G1
Screenshots:




Screenshot Date: 15-06-2024 21:43PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 11 of 236 PageID #:1383




Screenshot Date: 15-06-2024 21:44PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 12 of 236 PageID #:1384



#5 - BONFOTO a/k/a xuzhou dongkeweiyeshangmaoyouxiangongsi
https://www.amazon.com/BONFOTO-Dimmable-Ringlight-Photography-Compatible/dp/B082M1PH6P
Screenshots:




Screenshot Date: 15-06-2024 21:38PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 13 of 236 PageID #:1385




Screenshot Date: 15-06-2024 21:38PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 14 of 236 PageID #:1386



#6 - Unicucp US a/k/a shen zhen shi pei xuan wu jin zhi pin you xian gong si
https://www.amazon.com/2800mAh-Rechargeable-Unicucp-Recording-YouTube/dp/B0CRZ5VMN4
Screenshots:




Screenshot Date: 15-06-2024 21:36PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 15 of 236 PageID #:1387




Screenshot Date: 15-06-2024 21:37PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 16 of 236 PageID #:1388



#7 - vividNWUS a/k/a Shenzhen BaiNaChuan Technology CO LTD
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:42AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 17 of 236 PageID #:1389




Screenshot Date: 16-06-2024 7:43AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 18 of 236 PageID #:1390



#8 - XingBoom a/k/a shenzhenshixingwangcaidianzishangwuyouxiangongsi
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:10PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 19 of 236 PageID #:1391




Screenshot Date: 16-06-2024 22:11PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 20 of 236 PageID #:1392



#9 - ShutterLight a/k/a Shenzhen Ronglida Technology Co Ltd
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:08PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 21 of 236 PageID #:1393




Screenshot Date: 16-06-2024 22:08PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 22 of 236 PageID #:1394



#10 - HiFocusiUS a/k/a NiHao WangLuo KeJi ShenZhen YouXianGongSi
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:06PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 23 of 236 PageID #:1395




Screenshot Date: 16-06-2024 22:07PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 24 of 236 PageID #:1396



#11 - ShiQiaoShang a/k/a CHENGDUSHISHIQIAOSHANGKEJIYOUXIANGONGSI
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:04PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 25 of 236 PageID #:1397




Screenshot Date: 16-06-2024 22:05PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 26 of 236 PageID #:1398



#12 - Jinsnow a/k/a SHENZHENSHIJINZHINANGKEJIYOUXIANGONGSI
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:03PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 27 of 236 PageID #:1399




Screenshot Date: 16-06-2024 22:03PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 28 of 236 PageID #:1400



#13 - XuanXiuUS a/k/a yiwuxuanxiumaoyiyouxiangongsi
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 22:01PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 29 of 236 PageID #:1401




Screenshot Date: 16-06-2024 22:01PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 30 of 236 PageID #:1402



#14 - Photo Guard a/k/a ZENG YAN
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:59PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 31 of 236 PageID #:1403




Screenshot Date: 16-06-2024 21:59PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 32 of 236 PageID #:1404



#15 - PANYINYING a/k/a Shenzhenshi xinxiaoying kejiyouxiangongsi
https://www.amazon.com/dp/B082P2GZR1?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:55PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 33 of 236 PageID #:1405




Screenshot Date: 16-06-2024 21:56PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 34 of 236 PageID #:1406



#16 - Qirui-US a/k/a Shenzhenshi Qiruijue Keji Youxiangongsi
https://www.amazon.com/dp/B082P2GZR1?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:54PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 35 of 236 PageID #:1407




Screenshot Date: 16-06-2024 21:54PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 36 of 236 PageID #:1408



#17 - Sensynec a/k/a Shenzhen Jutongchengshiye Youxiangongsi
https://www.amazon.com/dp/B08B3X7NXC?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:52PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 37 of 236 PageID #:1409




Screenshot Date: 16-06-2024 21:53PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 38 of 236 PageID #:1410



#18 - xiechengyu-us a/k/a foshanshikekuzhenxuandianziyouxiangongsi
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:48PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 39 of 236 PageID #:1411




Screenshot Date: 16-06-2024 21:49PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 40 of 236 PageID #:1412



#19 - fubin-us a/k/a Guizhou Fengdian Trading Co., Ltd.
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:46PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 41 of 236 PageID #:1413




Screenshot Date: 16-06-2024 21:46PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 42 of 236 PageID #:1414



#20 - gxlong-US a/k/a TaiYuanXinBeiLuoShangMaoYouXianGongSi
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:44PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 43 of 236 PageID #:1415




Screenshot Date: 16-06-2024 21:45PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 44 of 236 PageID #:1416



#21 - GSJ-US a/k/a FOSHANSHICHENGHUNANDIANZIYOUXIANGONGSI
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:42PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 45 of 236 PageID #:1417




Screenshot Date: 16-06-2024 21:43PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 46 of 236 PageID #:1418



#22 - weiying-US a/k/a guangzhouxizhilindianzishangwuyouxiangongsi
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 21:40PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 47 of 236 PageID #:1419




Screenshot Date: 16-06-2024 21:40PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 48 of 236 PageID #:1420



#23 - HUJIYUAN a/k/a ShiJiaZhuangYuanDingShangMaoYouXianGongSi
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:51PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 49 of 236 PageID #:1421




Screenshot Date: 16-06-2024 20:52PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 50 of 236 PageID #:1422



#24 - HXT-us a/k/a foshanshiyaoyaokundianziyouxiangongsi
https://www.amazon.com/dp/B08YJPJLFV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:50PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 51 of 236 PageID #:1423




Screenshot Date: 16-06-2024 20:50PM
                   Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 52 of 236 PageID #:1424



#25 - Kaiess Store a/k/a you wo de ke ji shen zhen you xian gong si
https://www.amazon.com/dp/B086ZXS6K3?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:49PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 53 of 236 PageID #:1425




Screenshot Date: 16-06-2024 20:49PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 54 of 236 PageID #:1426



#26 - Wanfaau a/k/a shenzhenshiwanfakejiyouxiangongsi
https://www.amazon.com/dp/B0B74D8SMH?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:48PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 55 of 236 PageID #:1427




Screenshot Date: 16-06-2024 20:48PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 56 of 236 PageID #:1428



#27 - Woputne-US a/k/a shen zhen shi ai wei te mao yi you xian gong si
https://www.amazon.com/dp/B07PV6CK2P?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:47PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 57 of 236 PageID #:1429




Screenshot Date: 16-06-2024 20:47PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 58 of 236 PageID #:1430



#28 - Herrfilk a/k/a Yichun Hongdian Keji Youxian Gongsi
https://www.amazon.com/dp/B0BXL7RQXK?psc=1
Screenshots:




Screenshot Date: 16-06-2024 8:25AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 59 of 236 PageID #:1431




Screenshot Date: 16-06-2024 8:26AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 60 of 236 PageID #:1432



#28 - Herrfilk a/k/a Yichun Hongdian Keji Youxian Gongsi
https://www.amazon.com/Ringlight-Musical-Brightness-Dimmable-Photography/dp/B0921FKHY1
Screenshots:




Screenshot Date: 16-06-2024 8:26AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 61 of 236 PageID #:1433




Screenshot Date: 16-06-2024 8:27AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 62 of 236 PageID #:1434



#29 - Kimwood Official a/k/a foshanshishuzishangmaoyouxiangongsi
https://www.amazon.com/dp/B097SS6K9M?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:46PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 63 of 236 PageID #:1435




Screenshot Date: 16-06-2024 20:46PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 64 of 236 PageID #:1436



#30 - CCJDSMUS a/k/a ChangChunShiJunDiDianZiShangWuYouXianGongSi
https://www.amazon.com/dp/B097SS6K9M?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:45PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 65 of 236 PageID #:1437




Screenshot Date: 16-06-2024 20:45PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 66 of 236 PageID #:1438



#31 - junwangqiangsji a/k/a pingdingxingqiuchenshangmaoyouxiangongsi
https://www.amazon.com/dp/B097SS6K9M?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:44PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 67 of 236 PageID #:1439




Screenshot Date: 16-06-2024 20:44PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 68 of 236 PageID #:1440



#32 - Tonglisheng a/k/a shenzhenshi tonglishengkeji youxiangongsi
https://www.amazon.com/dp/B097SS6K9M?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:42PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 69 of 236 PageID #:1441




Screenshot Date: 16-06-2024 20:42PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 70 of 236 PageID #:1442



#33 - MEIXIANCI a/k/a Xiangyangshimeixiancishangmaoyouxiangongsi
https://www.amazon.com/dp/B097SS6K9M?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:41PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 71 of 236 PageID #:1443




Screenshot Date: 16-06-2024 20:41PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 72 of 236 PageID #:1444



#34 - xichenyouxianmaoyi a/k/a jinzhongshitaiguqushengxiangshangmaoyouxiangongsi
https://www.amazon.com/dp/B08JHWZ44S?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:39PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 73 of 236 PageID #:1445




Screenshot Date: 16-06-2024 20:40PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 74 of 236 PageID #:1446



#35 - Xin Fox a/k/a yiwushixinchuangtongxunshebeiyouxiangongsi
https://www.amazon.com/dp/B08JHWZ44S?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:38PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 75 of 236 PageID #:1447




Screenshot Date: 16-06-2024 20:38PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 76 of 236 PageID #:1448



#36 - Winseting a/k/a yiwushiwensetingdianzishangwuyouxiangongsi
https://www.amazon.com/dp/B08JHWZ44S?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:36PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 77 of 236 PageID #:1449




Screenshot Date: 16-06-2024 20:37PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 78 of 236 PageID #:1450



#37 - TODI INC. a/k/a Shenzhenshi Santian Shiye Youxiangongsi
https://www.amazon.com/dp/B083988KK3?psc=1
Screenshots:




Screenshot Date: 15-06-2024 21:42PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 79 of 236 PageID #:1451




Screenshot Date: 15-06-2024 21:43PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 80 of 236 PageID #:1452



#37 - TODI INC. a/k/a Shenzhenshi Santian Shiye Youxiangongsi
https://www.amazon.com/dp/B0CLGZTZY4?psc=1
Screenshots:




Screenshot Date: 15-06-2024 21:40PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 81 of 236 PageID #:1453




Screenshot Date: 15-06-2024 21:40PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 82 of 236 PageID #:1454



#37 - TODI INC. a/k/a Shenzhenshi Santian Shiye Youxiangongsi
https://www.amazon.com/TODI-Tripod-Selfie-Wireless-Photography/dp/B0B6JNNL3K
Screenshots:




Screenshot Date: 15-06-2024 21:41PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 83 of 236 PageID #:1455




Screenshot Date: 15-06-2024 21:42PM
               Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 84 of 236 PageID #:1456



#38 – INTENTIONALLY BLANK
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 85 of 236 PageID #:1457



#39 - SHQ Global a/k/a Longyanshuihengqinghuanbaokejiyouxiangongsi
https://www.amazon.com/dp/B0BKFKWN6F?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:35PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 86 of 236 PageID #:1458




Screenshot Date: 16-06-2024 20:35PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 87 of 236 PageID #:1459



#40 - STALLY a/k/a Shenzhen Chenfeng Keji Youxian Gongsi
https://www.amazon.com/dp/B0CT3HQHPX?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:34PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 88 of 236 PageID #:1460




Screenshot Date: 16-06-2024 20:34PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 89 of 236 PageID #:1461



#41 - Okshopping a/k/a zhuobin li
https://www.amazon.com/dp/B07NKRPZXN?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:33PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 90 of 236 PageID #:1462




Screenshot Date: 16-06-2024 20:33PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 91 of 236 PageID #:1463



#42 - XITENG TECH a/k/a SHENZHENSHIXITENGKEJIYOUXIANGONGSI
https://www.amazon.com/dp/B0BVMG4SVZ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:31PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 92 of 236 PageID #:1464




Screenshot Date: 16-06-2024 20:31PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 93 of 236 PageID #:1465



#42 - XITENG TECH a/k/a SHENZHENSHIXITENGKEJIYOUXIANGONGSI
https://www.amazon.com/dp/B0B3DJ6TP1?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:31PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 94 of 236 PageID #:1466




Screenshot Date: 16-06-2024 20:32PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 95 of 236 PageID #:1467



#42 - XITENG TECH a/k/a SHENZHENSHIXITENGKEJIYOUXIANGONGSI
https://www.amazon.com/dp/B08B3X7NXC?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:32PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 96 of 236 PageID #:1468




Screenshot Date: 16-06-2024 20:32PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 97 of 236 PageID #:1469



#43 - Aixiangpai a/k/a Shenzhenshiaixiangpaidianzishangwuyouxiangongsi
https://www.amazon.com/dp/B07QJXCB28?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:30PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 98 of 236 PageID #:1470




Screenshot Date: 16-06-2024 20:30PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 99 of 236 PageID #:1471



#43 - Aixiangpai a/k/a Shenzhenshiaixiangpaidianzishangwuyouxiangongsi
https://www.amazon.com/dp/B07Q3471S2?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:30PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 100 of 236 PageID #:1472




Screenshot Date: 16-06-2024 20:30PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 101 of 236 PageID #:1473



#44 - Rosesy a/k/a Rosesy Beauty Limited
https://www.amazon.com/dp/B0BS6DXX8K?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:26PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 102 of 236 PageID #:1474




Screenshot Date: 16-06-2024 20:26PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 103 of 236 PageID #:1475



#45 - ULANZI Official US Store a/k/a SHENZHEN 7 BASKETS TECHNOLOGY CO., LTD
https://www.amazon.com/dp/B0CRK8X6NL?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:24PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 104 of 236 PageID #:1476




Screenshot Date: 16-06-2024 20:25PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 105 of 236 PageID #:1477



#46 - KEJUXING a/k/a jiangmenkejuxingguangdianyouxiangongsi
https://www.amazon.com/dp/B0BV6JSF9R?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:23PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 106 of 236 PageID #:1478




Screenshot Date: 16-06-2024 20:24PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 107 of 236 PageID #:1479



#47 - Lion-Y a/k/a Shangrao Duming E-commerce Co., Ltd
https://www.amazon.com/dp/B0CCL43P8J?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:22PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 108 of 236 PageID #:1480




Screenshot Date: 16-06-2024 20:23PM
                   Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 109 of 236 PageID #:1481



#48 - iphoto digit a/k/a shen zhen shi yin xi si ke ji you xian gong si
https://www.amazon.com/dp/B07J4Y3Q6Z?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:21PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 110 of 236 PageID #:1482




Screenshot Date: 16-06-2024 20:22PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 111 of 236 PageID #:1483



#49 - BLights a/k/a Hongkong Qianzong Technology Co., Limited
https://www.amazon.com/dp/B08L5VKNWR?psc=1
Screenshots:




Screenshot Date: 16-06-2024 20:20PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 112 of 236 PageID #:1484




Screenshot Date: 16-06-2024 20:21PM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 113 of 236 PageID #:1485



#50 - Lixinshunyi a/k/a shenzhenlixinshunyikejiyouxiangongsi
https://www.amazon.com/dp/B00ZL177PO?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:30AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 114 of 236 PageID #:1486




Screenshot Date: 16-06-2024 11:31AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 115 of 236 PageID #:1487



#51 - Peyou US Ltd a/k/a PE YOU TRADING LIMITED
https://www.amazon.com/dp/B0C49GZ26V?psc=1
Screenshots:




Screenshot Date: 16-06-2024 8:06AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 116 of 236 PageID #:1488




Screenshot Date: 16-06-2024 8:06AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 117 of 236 PageID #:1489



#51 - Peyou US Ltd a/k/a PE YOU TRADING LIMITED
https://www.amazon.com/dp/B0C9Z8DHZJ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 8:04AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 118 of 236 PageID #:1490




Screenshot Date: 16-06-2024 8:04AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 119 of 236 PageID #:1491



#51 - Peyou US Ltd a/k/a PE YOU TRADING LIMITED
https://www.amazon.com/dp/B0CDKRXCK9?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:59AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 120 of 236 PageID #:1492




Screenshot Date: 16-06-2024 8:00AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 121 of 236 PageID #:1493



#51 - Peyou US Ltd a/k/a PE YOU TRADING LIMITED
https://www.amazon.com/dp/B0CF1YG6QT?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:59AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 122 of 236 PageID #:1494




Screenshot Date: 16-06-2024 7:59AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 123 of 236 PageID #:1495



#51 - Peyou US Ltd a/k/a PE YOU TRADING LIMITED
https://www.amazon.com/PEYOU-Dimmable-Ringlight-Photography-Compatible/dp/B08PKK7M9H
Screenshots:




Screenshot Date: 16-06-2024 8:07AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 124 of 236 PageID #:1496




Screenshot Date: 16-06-2024 8:08AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 125 of 236 PageID #:1497



#52 - Stalker US a/k/a STALKER HK CO., LIMITED
https://www.amazon.com/dp/B0BXPJZ93B?psc=1
Screenshots:




Screenshot Date: 15-06-2024 21:46PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 126 of 236 PageID #:1498




Screenshot Date: 15-06-2024 21:46PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 127 of 236 PageID #:1499



#52 - Stalker US a/k/a STALKER HK CO., LIMITED
https://www.amazon.com/dp/B0BLHHV648?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:28AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 128 of 236 PageID #:1500




Screenshot Date: 16-06-2024 7:29AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 129 of 236 PageID #:1501



#52 - Stalker US a/k/a STALKER HK CO., LIMITED
https://www.amazon.com/dp/B0CP3XCSRX?psc=1
Screenshots:




Screenshot Date: 15-06-2024 21:45PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 130 of 236 PageID #:1502




Screenshot Date: 15-06-2024 21:45PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 131 of 236 PageID #:1503



#52 - Stalker US a/k/a STALKER HK CO., LIMITED
https://www.amazon.com/Computer-lighting-Conference-Recording-Streaming/dp/B088LLK89G
Screenshots:




Screenshot Date: 16-06-2024 7:39AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 132 of 236 PageID #:1504




Screenshot Date: 16-06-2024 7:39AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 133 of 236 PageID #:1505



#52 - Stalker US a/k/a STALKER HK CO., LIMITED
https://www.amazon.com/Evershop-Key-Light-Professional-Photography/dp/B0B6V16YD9
Screenshots:




Screenshot Date: 16-06-2024 7:38AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 134 of 236 PageID #:1506




Screenshot Date: 16-06-2024 7:38AM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 135 of 236 PageID #:1507



#53 - Lanyuantai a/k/a shen zhen shi lan yuan tai ke ji you xian gong si
https://www.amazon.com/dp/B07JX79GBS?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:29AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 136 of 236 PageID #:1508




Screenshot Date: 16-06-2024 11:29AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 137 of 236 PageID #:1509



#54 - FLYSKY a/k/a huizhoushi huayun keji youxiang gongsi
https://www.amazon.com/dp/B08LZKSMRH?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:28AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 138 of 236 PageID #:1510




Screenshot Date: 16-06-2024 11:28AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 139 of 236 PageID #:1511



#55 - wonderful LIFE a/k/a shenzhenshijinfengxindianziyouxiangongsi
https://www.amazon.com/dp/B08LZKSMRH?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:27AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 140 of 236 PageID #:1512




Screenshot Date: 16-06-2024 11:27AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 141 of 236 PageID #:1513



#56 - Inkeltech a/k/a Haining Di Long Co., Ltd.
https://www.amazon.com/dp/B07MMM888W?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:26AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 142 of 236 PageID #:1514




Screenshot Date: 16-06-2024 11:26AM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 143 of 236 PageID #:1515



#57 - Pixel Lighting a/k/a Shen zhen shi rui de xiang mao yi you xian gong si
https://www.amazon.com/dp/B07PPKVNJJ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:25AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 144 of 236 PageID #:1516




Screenshot Date: 16-06-2024 11:25AM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 145 of 236 PageID #:1517



#58 - catchpiccus a/k/a shenzhenshiruilidakejiyouxiangongsi
https://www.amazon.com/dp/B07ZF5V9LZ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:23AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 146 of 236 PageID #:1518




Screenshot Date: 16-06-2024 11:23AM
                  Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 147 of 236 PageID #:1519



#58 - catchpiccus a/k/a shenzhenshiruilidakejiyouxiangongsi
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:25AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 148 of 236 PageID #:1520




Screenshot Date: 16-06-2024 11:25AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 149 of 236 PageID #:1521



#59 - Bekada a/k/a Guangzhou Bilian Technology Co., Ltd - Chenru
https://www.amazon.com/dp/B08GKKR9HF?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:22AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 150 of 236 PageID #:1522




Screenshot Date: 16-06-2024 11:22AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 151 of 236 PageID #:1523



#60 - Yarrashop Direct a/k/a Shenzhen Massa photography equipment CO.,Ltd
https://www.amazon.com/dp/B095741MZS?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:21AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 152 of 236 PageID #:1524




Screenshot Date: 16-06-2024 11:21AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 153 of 236 PageID #:1525



#61 - AMTLJ-US a/k/a shanghaishitianlaijunkejiyouxiangongsi
https://www.amazon.com/dp/B08F22QJHK?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:20AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 154 of 236 PageID #:1526




Screenshot Date: 16-06-2024 11:20AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 155 of 236 PageID #:1527



#62 - Jian jin company a/k/a YuYao Jian Jin SuYe You Xian Gong Si
https://www.amazon.com/dp/B09J56CXTY?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:19AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 156 of 236 PageID #:1528




Screenshot Date: 16-06-2024 11:19AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 157 of 236 PageID #:1529



#63 - xingtaisuixi a/k/a xingtaixisuiwenhuachuanboyouxiangongsi
https://www.amazon.com/dp/B09WR91S14?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:18AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 158 of 236 PageID #:1530




Screenshot Date: 16-06-2024 11:18AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 159 of 236 PageID #:1531



#63 - xingtaisuixi a/k/a xingtaixisuiwenhuachuanboyouxiangongsi
https://www.amazon.com/dp/B09ZXBR84P?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:17AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 160 of 236 PageID #:1532




Screenshot Date: 16-06-2024 11:17AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 161 of 236 PageID #:1533



#64 - Libaba Beauty a/k/a Xuchang Libaba Maoyi Youxian Gongsi
https://www.amazon.com/dp/B09WR91S14?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:15AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 162 of 236 PageID #:1534




Screenshot Date: 16-06-2024 11:15AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 163 of 236 PageID #:1535



#64 - Libaba Beauty a/k/a Xuchang Libaba Maoyi Youxian Gongsi
https://www.amazon.com/dp/B09ZXBR84P?psc=1
Screenshots:




Screenshot Date: 16-06-2024 11:14AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 164 of 236 PageID #:1536




Screenshot Date: 16-06-2024 11:14AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 165 of 236 PageID #:1537



#65 - Auriani-US a/k/a shenzhenshijiameigaokejiyouxiangongsi
https://www.amazon.com/dp/B09NDM9RF2?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:34AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 166 of 236 PageID #:1538




Screenshot Date: 16-06-2024 10:34AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 167 of 236 PageID #:1539



#66 - Vlogging US a/k/a Yichun Xuntong Keji Youxian Gongsi
https://www.amazon.com/dp/B0B8Z38SR6?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:52AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 168 of 236 PageID #:1540




Screenshot Date: 16-06-2024 7:52AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 169 of 236 PageID #:1541



#66 - Vlogging US a/k/a Yichun Xuntong Keji Youxian Gongsi
https://www.amazon.com/Lighting-Android-Recording-Ringlight-Dimmable/dp/B0CCVCZ1CF
Screenshots:




Screenshot Date: 16-06-2024 7:51AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 170 of 236 PageID #:1542




Screenshot Date: 16-06-2024 7:51AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 171 of 236 PageID #:1543



#67 - Kaiess a/k/a Shenzhenshi Huanyuchuang Electronics Co., Ltd.
https://www.amazon.com/dp/B0C1S3GYSP?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:33AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 172 of 236 PageID #:1544




Screenshot Date: 16-06-2024 10:34AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 173 of 236 PageID #:1545



#68 - WisaKey US a/k/a Yichun Zhixuan Maoyi Youxian Gongsi
https://www.amazon.com/dp/B0BML9VSC3?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:33AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 174 of 236 PageID #:1546




Screenshot Date: 16-06-2024 10:33AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 175 of 236 PageID #:1547



#69 - EESTOREAMZ a/k/a shenzhenshiyongjiejingmijixieyouxiangongsi
https://www.amazon.com/dp/B0CR1CNFLT?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:03PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 176 of 236 PageID #:1548




Screenshot Date: 16-06-2024 8:40AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 177 of 236 PageID #:1549



#69 - EESTOREAMZ a/k/a shenzhenshiyongjiejingmijixieyouxiangongsi
https://www.amazon.com/dp/B0CKVX9ZGP?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:05PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 178 of 236 PageID #:1550




Screenshot Date: 16-06-2024 8:40AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 179 of 236 PageID #:1551



#70 - ruiao Photographic equipment a/k/a NingBoShiSiWangWangLuoKeJiYouXianGongSi
https://www.amazon.com/Znbruiap-Holders-YouTube-Suitable-Android/dp/B09FJQ38RG
Screenshots:




Screenshot Date: 15-06-2024 15:55PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 180 of 236 PageID #:1552




Screenshot Date: 16-06-2024 8:31AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 181 of 236 PageID #:1553



#71 - SJia a/k/a ning bo shuai jia mao yi you xian gong si
https://www.amazon.com/NiceVeedi-2800-6500K-Photography-Recording-Streaming/dp/B0BF976MJY
Screenshots:




Screenshot Date: 15-06-2024 15:57PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 182 of 236 PageID #:1554




Screenshot Date: 16-06-2024 8:32AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 183 of 236 PageID #:1555



#72 - CY Direct US a/k/a Wuhanchenyikejiyouxiangongsi
https://www.amazon.com/dp/B09TZN74V1?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:22PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 184 of 236 PageID #:1556




Screenshot Date: 16-06-2024 8:42AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 185 of 236 PageID #:1557



#72 - CY Direct US a/k/a Wuhanchenyikejiyouxiangongsi
https://www.amazon.com/dp/B0C1C5XKTY?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:15PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 186 of 236 PageID #:1558




Screenshot Date: 16-06-2024 8:41AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 187 of 236 PageID #:1559



#72 - CY Direct US a/k/a Wuhanchenyikejiyouxiangongsi
https://www.amazon.com/dp/B0B5XNJ39C?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:16PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 188 of 236 PageID #:1560




Screenshot Date: 16-06-2024 8:42AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 189 of 236 PageID #:1561



#72 - CY Direct US a/k/a Wuhanchenyikejiyouxiangongsi
https://www.amazon.com/dp/B0919X39S1?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:23PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 190 of 236 PageID #:1562




Screenshot Date: 16-06-2024 8:43AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 191 of 236 PageID #:1563



#72 - CY Direct US a/k/a Wuhanchenyikejiyouxiangongsi
https://www.amazon.com/dp/B08CTJ6WBX?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:25PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 192 of 236 PageID #:1564




Screenshot Date: 16-06-2024 8:44AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 193 of 236 PageID #:1565



#73 - yunqiya a/k/a shashiquyunqiyadianshangjingyingbu
https://www.amazon.com/dp/B0CPWJFHZM?psc=1
Screenshots:




Screenshot Date: 16-06-2024 8:45AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 194 of 236 PageID #:1566




Screenshot Date: 16-06-2024 8:46AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 195 of 236 PageID #:1567



#74 - Weilisi a/k/a Strushine
https://www.amazon.com/dp/B0CLGJLRL8?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:45AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 196 of 236 PageID #:1568




Screenshot Date: 16-06-2024 7:45AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 197 of 236 PageID #:1569



#74 - Weilisi a/k/a Strushine
https://www.amazon.com/dp/B0CH9KZXWR?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:47AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 198 of 236 PageID #:1570




Screenshot Date: 16-06-2024 7:47AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 199 of 236 PageID #:1571



#74 - Weilisi a/k/a Strushine
https://www.amazon.com/dp/B08JPCSDMP?psc=1
Screenshots:




Screenshot Date: 16-06-2024 7:49AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 200 of 236 PageID #:1572




Screenshot Date: 16-06-2024 7:49AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 201 of 236 PageID #:1573



#74 - Weilisi a/k/a Strushine
https://www.amazon.com/Weilisi-Dimmable-Wireless-Photography-YouTube/dp/B0B4WY45Y4
Screenshots:




Screenshot Date: 16-06-2024 7:48AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 202 of 236 PageID #:1574




Screenshot Date: 16-06-2024 7:48AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 203 of 236 PageID #:1575



#75 - QiHuichang a/k/a shenzhenshiqihuichangkejiyouxiangongsi
https://www.amazon.com/dp/B0CHRNFZC3?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:14AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 204 of 236 PageID #:1576




Screenshot Date: 16-06-2024 10:14AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 205 of 236 PageID #:1577



#75 - QiHuichang a/k/a shenzhenshiqihuichangkejiyouxiangongsi
https://www.amazon.com/dp/B0CC2499MS?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:15AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 206 of 236 PageID #:1578




Screenshot Date: 16-06-2024 10:16AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 207 of 236 PageID #:1579



#75 - QiHuichang a/k/a shenzhenshiqihuichangkejiyouxiangongsi
https://www.amazon.com/dp/B07ZF5V9LZ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:17AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 208 of 236 PageID #:1580




Screenshot Date: 16-06-2024 10:17AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 209 of 236 PageID #:1581



#75 - QiHuichang a/k/a shenzhenshiqihuichangkejiyouxiangongsi
https://www.amazon.com/dp/B00ZL177PO?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:19AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 210 of 236 PageID #:1582




Screenshot Date: 16-06-2024 10:20AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 211 of 236 PageID #:1583



#75 - QiHuichang a/k/a shenzhenshiqihuichangkejiyouxiangongsi
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:18AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 212 of 236 PageID #:1584




Screenshot Date: 16-06-2024 10:19AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 213 of 236 PageID #:1585



#76 - RUIHOTOR a/k/a shenzhenshiruihongtaokejiyouxiangongsi
https://www.amazon.com/dp/B0CHRNFZC3?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:20AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 214 of 236 PageID #:1586




Screenshot Date: 16-06-2024 10:21AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 215 of 236 PageID #:1587



#76 - RUIHOTOR a/k/a shenzhenshiruihongtaokejiyouxiangongsi
https://www.amazon.com/dp/B0CC2499MS?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:21AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 216 of 236 PageID #:1588




Screenshot Date: 16-06-2024 10:21AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 217 of 236 PageID #:1589



#76 - RUIHOTOR a/k/a shenzhenshiruihongtaokejiyouxiangongsi
https://www.amazon.com/dp/B08DNKR4TV?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:22AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 218 of 236 PageID #:1590




Screenshot Date: 16-06-2024 10:22AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 219 of 236 PageID #:1591



#76 - RUIHOTOR a/k/a shenzhenshiruihongtaokejiyouxiangongsi
https://www.amazon.com/dp/B00ZL177PO?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:23AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 220 of 236 PageID #:1592




Screenshot Date: 16-06-2024 10:23AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 221 of 236 PageID #:1593



#77 - iphotoxx a/k/a chang jie
https://www.amazon.com/dp/B0CHRNFZC3?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:25AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 222 of 236 PageID #:1594




Screenshot Date: 16-06-2024 10:25AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 223 of 236 PageID #:1595



#77 - iphotoxx a/k/a chang jie
https://www.amazon.com/dp/B07ZF5V9LZ?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:25AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 224 of 236 PageID #:1596




Screenshot Date: 16-06-2024 10:26AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 225 of 236 PageID #:1597



#77 - iphotoxx a/k/a chang jie
https://www.amazon.com/dp/B01LXDNNBW?psc=1
Screenshots:




Screenshot Date: 16-06-2024 10:26AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 226 of 236 PageID #:1598




Screenshot Date: 16-06-2024 10:26AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 227 of 236 PageID #:1599



#78 - NAICEE a/k/a Shaoxing Longwen Textile Co., Ltd.
https://www.amazon.com/LDGHO-Controlled-Bluetooth-Streaming-Photography/dp/B0CBRXNMNT
Screenshots:




Screenshot Date: 16-06-2024 10:31AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 228 of 236 PageID #:1600




Screenshot Date: 16-06-2024 10:32AM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 229 of 236 PageID #:1601



#79 - NovoNost-us a/k/a Shenzhenshi chenyulin keji youxiangongsi
https://www.amazon.com/dp/B0B3MGT6FN?psc=1
Screenshots:




Screenshot Date: 15-06-2024 16:01PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 230 of 236 PageID #:1602




Screenshot Date: 16-06-2024 8:39AM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 231 of 236 PageID #:1603



#80 - INSSTRO a/k/a Shen Zhen Shi Ying Cheng Ke Ji You Xian Gong Si
https://www.amazon.com/dp/B08DD36M29?psc=1
Screenshots:




Screenshot Date: 13-06-2024 15:08PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 232 of 236 PageID #:1604




Screenshot Date: 13-06-2024 15:09PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 233 of 236 PageID #:1605



#81 - AIXIANGPAI a/k/a shenzhenshiaixiangpaidianzishangwuyouxiangongsi
https://www.walmart.com/ip/Ring-Light-10-59-Extendable-Tripod-Stand-Phone-Holder-YouTube-Video-Camera-Led-Streaming-
Makeup-Selfie-Photography-Compatible-iPhone-Android/602768530?from=/search
Screenshots:




Screenshot Date: 16-06-2024 23:00PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 234 of 236 PageID #:1606




Screenshot Date: 16-06-2024 23:00PM
                 Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 235 of 236 PageID #:1607



#82 - DONGDONG a/k/a SHENZHENSHILIENIAOJINCHUKOUYOUXIANGONGSI
https://www.walmart.com/ip/8-Selfie-Ring-Light-Extendable-Tripod-Stand-Phone-Holder-Bluetooth-Remote-Control-Dimmable-LED-
Circle-Lights-Live-Streaming-YouTube-Video-Photography/5144204072?from=/search
Screenshots:




Screenshot Date: 16-06-2024 22:12PM
                Case: 1:24-cv-05218 Document #: 85-3 Filed: 08/12/24 Page 236 of 236 PageID #:1608




Screenshot Date: 16-06-2024 22:12PM
